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United States Bankruptcy Court for the:

SCUTHERN District of TEXAS
(State)

Case number (if kaown):

Chapter 11,

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

United States Courts
Southern District of Texas
FILED

JUN 30 2023

U1) Check if this is an
amended filing

Nathan Ochsner, Clerk of Court

06/22

If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name

MORRIS HOUSING PROJECT LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. Allothernames debtorused N/A
in the last 8 years
Include any assumed names,
trade names, and doing business
as names
3. Debtor's federal Employer
° - 8 4_- 4 2 8 oO 5 BT
identification Number (E]N} ~ —_ a
4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
3447 Magnolia Shores Lane
Number Street Number Street
P.O. Box
Pearland Texas 77584
City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business
Brazoria
County
Number Street
City State ZIP Code
NiA

5. Debtor’s website (URL)

 

 

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\ ae . . f ‘ LCL Abr byshan:)
So Hemis pause Poryeob | : id Abs (if knoen)

6. Type of debtor ¥ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
L) Partnership (excluding LLP)
LI) Other. Specify:

 

 

 

. . A. Check one:
7. Describe debtor's business

() Health Care Business (as defined in 11 U.S.C. § 101(27A))}
J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
LJ Railroad (as defined in 11 U.S.C. § 101(44))

Ld Stockbroker (as defined in 11 U.S.C. § 101(53A))

CL) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Ol Clearing Bank (as defined in 11 U.S.C. § 781(3))

LI None of the above

B. Check aif that apply:

Q) Tax-exempt enlity (as described in 26 U.S.6. § 501)

() Investment company, including hedge fund cr pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

L) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11)}

1

C. NAICS (North American Industry Classifi cation System) 4- -digit ‘code that best describes debtor. See
http: /wanw uscourts.gov/four-cigit-national-association-naics-codes .

 

3. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? QO) Chapter 7
L) Chapter 9

¥ Chapter 11. Check aff that apply.
A debtor who is a “small business P PP Y:

debtor" must check the first sub- ¥ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or

§ 1182(1} who elects to proceed affiliates} are less than $3,024,725. If this sub-box is selected, attach the most
under subchapter V of chapter 14 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor") must 11 U.S.C. § 1116(1}{B).

check the second sub-box. ©) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,060, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1){B).

La plan is being filed with this petition.

L] Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

() The debtor is required to file periodic reports {for example, 10K and 40Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

LJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

LJ Chapter 12

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caw — Anaad Aldubtn: (Mortis, Housing Payee, LOD

 

9. Were prior bankruptcy cases / ny
filed by or against the debtor

 

 

 

 

 

within the last 8 years? Yes. District When Case number
. MM/ BD /YYYY

If more than 2 cases, attach a .

separate list. District When Case number

MM/ DD /YYYY
10. Are any bankruptcy cases / No
pending or being filed by a
business partner or an O) yes. Debtor Relationship
i ?

affiliate of the debtor? District When

List all cases. If more than 1, MM / DD fYYYY

attach a separate list. Case number, if known

 

 

11. Why is the case filed in this Check aif that apply:
district?

J Debtor has had its domicile, principal place of business, or principal assets in this district for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any

other district.

LIA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have v No
possession of any real
property or personal property
that needs immediate
attention?

L] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

Cit poses or is alleged to pose a threat of imminent and identifiable hazard to public heaith or safety.

What is the hazard?

 

C) Itneeds to be physically secured or protected from the weather.

OC) Itincludes perishable goods or assets that could quickly deteriorate or lose value without

attention (for example, livestock, seasonal goods, meat,
assets or other options).

() Other

dairy, produce, or securities-related

 

Where is the property?

 

Number Street

 

 

City

Is the property insured?

CO) No

LL] Yes. Insurance agency

State ZIP Code

 

Contact name

 

Phone

 

 

 s2121-0 and administrative information

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cau Alynaal Al Suban: (Maks Yoisirg PQ eek We)

 

13. Debtor's estimation of
available funds

Check one:

LE Funds will be available for distribution to unsecured creditors.

Alter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

. Vv 1-49 CI 1,000-5,000 CL) 25,001-50,000
14, eee number of OC 50-99 Q 5,001-10,000 © 50,001-100,000
L) 100-199 L} 10,001-25,000 (C) More than 100,000
QC) 200-999
¥ $0-$50,000 L) $1,000,001-$10 million ©) $500,000,001-$1 billion

15. Estimated assets

CJ $50,001-$100,000
CL) $100,001-$500,000
C) $500,004-$1 million

C2) $10,000,001-$50 million
©) $50,000,001-$100 million
CI $100,000,001-$500 million

C) $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
(1 More than $50 billion

 

16. Estimated liabilities

L) $0-$50,000

©) $50,001-$100,000
LJ $100,001-$500,000
L) $500,001-$1 million

v $1,000,001-$10 million

LJ $10,000,001-$50 million
C) $50,000,001-$100 million
©) $100,000,001-$500 million

1] $500,000,001-1 billion

CL) $1,000,000,001-$10 billion
LY $10,000,000,001-$50 billion
C) More than $50 billion

 

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime, Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of etition
debtor P .

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Ahmed Al-Juhani

Printed name

 

Title Manager

 

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Debtor Abwiaal Attuhan: (Hatc's \tow SG Pejeck)

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18. Signature of attorney

xa Mua ceo 6) 40[ 908.

Siangtysd of bttorney| ig debtor MM /DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

 

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